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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



WILLIAM DEMLER,

                  Plaintiff,

v.                                            CASE NO. 4:19cv94-RH-GRJ

MARK S. INCH,

                  Defendant.

___________________________/


                            OOPS—ORDER CORRECTING THE
                           ORDER DENYING THE MOTION FOR
                             A MORE DEFINITE STATEMENT


         The order entered earlier today denying the defendant’s motion for a more

definite statement mistakenly asserted the plaintiff missed the deadline for

responding to that motion. The deadline had been extended. The plaintiff has now

filed an excellent and timely response fully addressing the motion. The response is

consistent with the order, so no harm was done, other than the infliction of some

embarrassment that rightly rests with the court, not the plaintiff. As my high school




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baseball coach taught me to say when the ball went through my legs, “I’ll get the

next one.” Or at least I’ll try.

         SO ORDERED on May 3, 2019.

                                      s/Robert L. Hinkle
                                      United States District Judge




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